$2 5HY 'HWHQWLRQ2UGHU3HQGLQJ7ULDO0,:' 5HY
                      Case 1:14-cr-00215-HYJ                                   ECF No. 88, PageID.239                                    Filed 11/21/14                     Page 1 of 1
                                    UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN

                             8QLWHG6WDWHVRI$PHULFD                                                                      ORDER OF DETENTION PENDING TRIAL
                                                Y
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                                     Javel McElrath                                                                        &DVH1R 1:14-cr-00215-GJQ
                                             Defendant


            $IWHUFRQGXFWLQJDGHWHQWLRQKHDULQJXQGHUWKH%DLO5HIRUP$FW86& I ,FRQFOXGHWKDWWKHVHIDFWVUHTXLUH
WKDWWKHGHIHQGDQWEHGHWDLQHGSHQGLQJWULDO
                                                                                  Part I±Findings of Fact
  7KHGHIHQGDQWLVFKDUJHGZLWKDQRIIHQVHGHVFULEHGLQ86& I  DQGKDVSUHYLRXVO\EHHQFRQYLFWHGRI
               DIHGHUDORIIHQVHDVWDWHRUORFDORIIHQVHWKDWZRXOGKDYHEHHQDIHGHUDORIIHQVHLIIHGHUDOMXULVGLFWLRQKDG
               H[LVWHG±WKDWLV
                DFULPHRIYLROHQFHDVGHILQHGLQ86& D  RUDQRIIHQVHOLVWHGLQ86&E J  % IRU
                        ZKLFKWKHSULVRQWHUPLV\HDUVRUPRUH
                DQRIIHQVHIRUZKLFKWKHPD[LPXPVHQWHQFHLVGHDWKRUOLIHLPSULVRQPHQW
                DQRIIHQVHIRUZKLFKDPD[LPXPSULVRQWHUPRIWHQ\HDUVRUPRUHLVSUHVFULEHGLQ
                        
                DIHORQ\FRPPLWWHGDIWHUWKHGHIHQGDQWKDGEHHQFRQYLFWHGRIWZRRUPRUHSULRUIHGHUDORIIHQVHVGHVFULEHGLQ
                        86& I  $  & RUFRPSDUDEOHVWDWHRUORFDORIIHQVHV
                DQ\IHORQ\WKDWLVQRWDFULPHRIYLROHQFHEXWLQYROYHV
                                 DPLQRUYLFWLP
                                   WKHSRVVHVVLRQRUXVHRIDILUHDUPRUGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ
                                   DIDLOXUHWRUHJLVWHUXQGHU86&
  7KHRIIHQVHGHVFULEHGLQILQGLQJ  ZDVFRPPLWWHGZKLOHWKHGHIHQGDQWZDVRQUHOHDVHSHQGLQJWULDOIRUDIHGHUDOVWDWH
               RUORFDORIIHQVH
  $SHULRGRIOHVVWKDQ\HDUVKDVHODSVHGVLQFHWKHGDWHRIFRQYLFWLRQGHIHQGDQW¶VUHOHDVHIURPSULVRQIRUWKH
               RIIHQVHGHVFULEHGLQILQGLQJ  
  )LQGLQJV    DQG  HVWDEOLVKDUHEXWWDEOHSUHVXPSWLRQWKDWQRFRQGLWLRQZLOOUHDVRQDEO\DVVXUHWKHVDIHW\RIDQRWKHU
               SHUVRQRUWKHFRPPXQLW\,IXUWKHUILQGWKDWGHIHQGDQWKDVQRWUHEXWWHGWKDWSUHVXPSWLRQ
                                                                                  Alternative Findings (A)
  7KHUHLVSUREDEOHFDXVHWREHOLHYHWKDWWKHGHIHQGDQWKDVFRPPLWWHGDQRIIHQVH
                IRUZKLFKDPD[LPXPSULVRQWHUPRIWHQ\HDUVRUPRUHLVSUHVFULEHGLQ
                        
                         Controlled Substances Act (21 U.S.C. 801 et seq.)
                XQGHU86& F 
  7KHGHIHQGDQWKDVQRWUHEXWWHGWKHSUHVXPSWLRQHVWDEOLVKHGE\ILQGLQJ  WKDWQRFRQGLWLRQRUFRPELQDWLRQRIFRQGLWLRQV
               ZLOOUHDVRQDEO\DVVXUHWKHGHIHQGDQW¶VDSSHDUDQFHDQGWKHVDIHW\RIWKHFRPPXQLW\
                                                                                  Alternative Findings (B)
  ✔  7KHUHLVDVHULRXVULVNWKDWWKHGHIHQGDQWZLOOQRWDSSHDU

  7KHUHLVDVHULRXVULVNWKDWWKHGHIHQGDQWZLOOHQGDQJHUWKHVDIHW\RIDQRWKHUSHUVRQRUWKHFRPPXQLW\
                                                             Part II – Statement of the Reasons for Detention
            ,ILQGWKDWWKHWHVWLPRQ\DQGLQIRUPDWLRQVXEPLWWHGDWWKHGHWHQWLRQKHDULQJHVWDEOLVKHVE\FOHDUDQGFRQYLQFLQJ                       ✔
HYLGHQFHDSUHSRQGHUDQFHRIWKHHYLGHQFHWKDW
  1. Defendant waived his detention hearing, electing not to contest detention at this time.
  2. Defendant is subject to a hold/detainer and would not be released in any case.
  3. Defendant may bring the issue of his continuing detention to the court’s attention should his circumstances change.




                                               Part III – Directions Regarding Detention
         7KHGHIHQGDQWLVFRPPLWWHGWRWKHFXVWRG\RIWKH$WWRUQH\*HQHUDORUDGHVLJQDWHGUHSUHVHQWDWLYHIRUFRQILQHPHQWLQD
FRUUHFWLRQVIDFLOLW\VHSDUDWHWRWKHH[WHQWSUDFWLFDEOHIURPSHUVRQVDZDLWLQJRUVHUYLQJVHQWHQFHVRUKHOGLQFXVWRG\SHQGLQJ
DSSHDO7KHGHIHQGDQWPXVWEHDIIRUGHGDUHDVRQDEOHRSSRUWXQLW\WRFRQVXOWSULYDWHO\ZLWKGHIHQVHFRXQVHO2QRUGHURI8QLWHG
6WDWHV&RXUWRURQUHTXHVWRIDQDWWRUQH\IRUWKH*RYHUQPHQWWKHSHUVRQLQFKDUJHRIWKHFRUUHFWLRQVIDFLOLW\PXVWGHOLYHUWKH
GHIHQGDQWWRWKH8QLWHG6WDWHVPDUVKDOIRUDFRXUWDSSHDUDQFH
 Date:            November 21, 2014                                                 Judge’s Signature: /s/ Ellen S. Carmody
                                                                                        Name and Title: Ellen S. Carmody, U.S. Magistrate Judge

 ,QVHUWDVDSSOLFDEOH D &RQWUROOHG6XEVWDQFHV$FW 86&HWVHT  E &RQWUROOHG6XEVWDQFHV,PSRUWDQG([SRUW$FW 86&HWVHT RU F 6HFWLRQRI$FWRI6HSW 86&D 
